Case 1:22-cv-00520-MAV-JJM   Document 383-6   Filed 05/20/25   Page 1 of 16




                      EXHIBIT E
 Case 1:22-cv-00520-MAV-JJM                         Document 383-6                Filed 05/20/25             Page 2 of 16


From:                Kirstie A. Means
To:                  James P. Blenk; Spencer Durland; Nicole Austin; Meredith Vacca; Thomas R. Southard; John Lyle; Katelyn Popp
Cc:                  Hanft, Gideon A.; Firsenbaum, Ross; Perio, Ryanne; jbrudin@rudinlaw.com; Brian C. Mahoney;
                     buffalo 5 plaintiff counsel@list.wilmerhale.com; Jennifer C. Persico
Subject:             RE: Final Jury Instructions and Special Verdict Form
Date:                Monday, April 7, 2025 10:34:31 AM
Attachments:         image001.png
                     image364934.png


Dear Judge Vacca, Ms. Austin, and Counsel:

Below please find the County’s proposed instruction relative to its affirmative defense on the issue of
apportionment.

          The County has asserted an affirmative defense that the City of Buffalo Police Department,
          including the individual officers thereof, were responsible, at least in part, for any alleged
          deprivation of Mr. Walker’s fair trial rights. A police officer violates a criminal defendant’s right to
          a fair trial by fabricating evidence that was used against a defendant in the criminal case. Such a
          claim requires showing each of the following three things by a preponderance of the evidence:
          (1) The officer knowingly fabricated evidence that was introduced against Plaintiff at his criminal
          trial (2) The evidence was material, and (3) Plaintiff was damaged as a result.

          If you find that each of these elements are met, you should apportion liability against the City of
          Buffalo Police Defendants based on what you determine to be the relative fault in causing or
          contributing to Plaintiff’s alleged damages. Upon such a finding, you will state the percentage of
          fault, if any, of the County of Erie and the Buffalo Police Department employees, and the total of
          these percentages must add up to 100 percent.

https://www.ca7.uscourts.gov/pattern-jury-instructions/7th_cir_civil_instructions.pdf (7.14 FAIR TRIAL:
CONCEALMENT OF EXCULPATORY EVIDENCE / FABRICATION OF EVIDENCE)

Respectfully submitted,




Kirstie A. Means        ​




Partner

Lippes Mathias LLP




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

ph: 716.853.5100 ext. 1305
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Case 1:22-cv-00520-MAV-JJM   Document 383-6   Filed 05/20/25   Page 3 of 16
             Case 1:22-cv-00520-MAV-JJM   Document 383-6   Filed 05/20/25      Page 4 of 16


801(d):

The contents of a prior inconsistent statement are generally not proof of what happened.

You may ordinarily use evidence of a prior inconsistent statement only to evaluate the
truthfulness or accuracy of the witness’s testimony here at trial. However, where a witness
was subject to cross examination about a prior inconsistent statement that was made
under oath, the statement is inconsistent with their trial testimony, and was given under
penalty of perjury at a trial, a hearing, or in a deposition, you may consider the prior
statement for the truth.



From: James P. Blenk <jblenk@lippes.com>
Sent: Monday, April 7, 2025 9:39 AM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard <tsouthard@lippes.com>; John Lyle
<John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com; Brian C. Mahoney <bmahoney@lippes.com>;
buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico <jpersico@lippes.com>
Subject: RE: Final Jury Instructions and Special Verdict Form


Jury Instructions – P 19: Modifications underlined…

The contents of a prior inconsistent statement are not proof of what happened, unless that
statement was sworn to by the witness.

You may use evidence of an unsworn prior inconsistent statement only to evaluate the
truthfulness or accuracy of the witness’s testimony here at trial.



James P. Blenk           ​




Partner
L pp s M th as L P




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Buffalo, NY 14202‑2216

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jblenk@lippes.com | lippes.com
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 Case 1:22-cv-00520-MAV-JJM               Document 383-6           Filed 05/20/25       Page 5 of 16


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Sent: Sunday, April 6, 2025 6:21 PM
To: Kirstie A. Means <kmeans@lippes.com>; Spencer Durland <sdurland@hooverdurland.com>;
Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard
<tsouthard@lippes.com>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp
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<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: Final Jury Instructions and Special Verdict Form



Good evening, Counsel,

Attached are the Final Jury Instructions and Special Verdict Sheet that will be the subject
of the charge conference tomorrow at 8:30am.

Nicole W. Austin
Law Clerk to Judge Meredith A. Vacca
Western District of New York
Kenneth B. Keating Federal Building
100 State Street, Rochester, NY 14614
O: 585-613-4374 | FAX: 716-613-4375
www.nywd.uscourts.gov

From: Kirstie A. Means <kmeans@lippes.com>
Sent: Sunday, April 6, 2025 5:58 PM
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<Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard <tsouthard@lippes.com>; Nicole
Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn
Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Firsenbaum, Ross
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             Case 1:22-cv-00520-MAV-JJM   Document 383-6           Filed 05/20/25       Page 6 of 16


<jpersico@lippes.com>
Subject: RE: DX 707 and DX 697

    CAUTION - EXTERNAL:




Dear Judge Vacca:

Attached please find a copy of the County’s response and objections to Plaintiff’s Supplemental Requests
to Charge, filed moments ago at Docket 357.

Respectfully submitted,
Kirstie Means


Kirstie A. Means       ​




Partner
L pp s M th as L P




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

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kmeans@lippes.com | lippes.com
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To: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard
<tsouthard@lippes.com>; Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle
<John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
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<Ryanne.Perio@wilmerhale.com>; jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>;
Brian C. Mahoney <bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com;
Jennifer C. Persico <jpersico@lippes.com>
Subject: RE: DX 707 and DX 697



Dear Judge Vacca,
Case 1:22-cv-00520-MAV-JJM            Document 383-6        Filed 05/20/25      Page 7 of 16




We have received your message and will confer with opposing counsel about a list of admitted
exhibits. Attached please find Plaintiff’s Supplemental Requests to Charge, filed on the docket
just now.

Respectfully submitted,

Spencer L. Durland

From: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>
Sent: Sunday, April 6, 2025 9:00 AM
To: Thomas R. Southard <tsouthard@lippes.com>; Nicole Austin
<Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp
<Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: Re: DX 707 and DX 697


Counsel:

I will get you the proposed verdict sheet and final instructions later today. A few things I
wanted to bring up now.

If counsel can please come up with a mutually agreeable list of exhibits that can be sent
back to the jury during deliberations when requested in a note. Please bring to court
tomorrow morning. If such an exhibit is requested by the jury, we would send it back
without reconvening and put it on the record the next time we meet in court.

I will not be allowing Plaintiff to recommend a certain dollar figure or range in their
summation. We will put this on the record tomorrow morning.

Also, heads up for tomorrow morning. We have Grand Jury empanelment which means
that there will be a lot of people going through the magnetometers starting at 8 am. I am
told it will probably take an hour for everyone to go through.

Thank you!
             Case 1:22-cv-00520-MAV-JJM   Document 383-6          Filed 05/20/25       Page 8 of 16




Get Outlook for iOS

From: Thomas R. Southard <tsouthard@lippes.com>
Sent: Friday, April 4, 2025 9:51:48 AM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>;
Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com <jbrudin@rudinlaw.com>; James P. Blenk <jblenk@lippes.com>; Brian C.
Mahoney <bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com
<buffalo_5_plaintiff_counsel@list.wilmerhale.com>; Jennifer C. Persico <jpersico@lippes.com>
Subject: DX 707 and DX 697

    CAUTION - EXTERNAL:


Dear Judge Vacca,

Please see the below link to a share drive that contains DX 707 (Guadagno Deposition
Transcript) and DX 697 (Cosgrove Deposition Transcript) highlighted for the County’s
deposition designations and Plaintiff’s counter designations that were received in evidence on
April 3.




Thank you,

Tom Southard
Thomas R. Southard        ​




Associate
L pp s M th as L P




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

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From:             Spencer Durland
To:               Kirstie A. Means; Nicole Austin; Meredith Vacca; Thomas R. Southard; John Lyle; Katelyn Popp
Cc:               Hanft, Gideon A.; Firsenbaum, Ross; Perio, Ryanne; jbrudin@rudinlaw.com; James P. Blenk; Brian C. Mahoney;
                  buffalo 5 plaintiff counsel@list.wilmerhale.com; Jennifer C. Persico
Subject:          RE: Final Jury Instructions and Special Verdict Form
Date:             Monday, April 7, 2025 7:29:33 AM
Attachments:      image001.png
                  external.png




Dear Judge Vacca and counsel,

In advance of this morning’s charge conference, Plaintiff summarizes his principal objections to
the final charge:

        The definition of materiality (pp. 29, 32) should track Poventud v. City of New York, 750 F.3d
        121, 133 (2d Cir. 2014) (en banc) (evidence is material if there “is a reasonable probability
        of a different result, and the adjective is important. The question is not whether the
        defendant would more likely than not have received a different verdict with the evidence,
        but whether in its absence he received a fair trial, understood as a trial resulting in a verdict
        worthy of confidence.” (cleaned up)). The Court should further explain that, given
        unanimity and reasonable-doubt requirements applicable to a criminal case, a different
        result means raising a reasonable doubt in the mind of at least one juror. Cone v. Bell, 556
        U.S. 449, 452 (2009) (stating that the test for materiality is “whether there is a reasonable
        probability that the withheld evidence would have altered at least one juror’s assessment
        of the appropriate penalty” (emphasis added)).

        Second Circuit precedent requires that the Court’s description of damages (p.44) include
        loss of freedom and psychological injury. Kerman v. City of New York, 374 F.3d 93, 126 (2d
        Cir. 2004).

        Second Circuit precedent holds that the Court may not instruct the jury on nominal
        damages (pp.45-47) because Mr. Walker’s 1977 criminal trial indisputably resulted in a
        loss of liberty. Kerman v. City of New York, 374 F.3d 93, 124 (2d Cir. 2004) (“[W]here the
        plaintiff was indisputably deprived of his liberty, and the conduct of the defendant
        responsible for the deprivation was found to be unlawful, we have held that the plaintiff is
        entitled to compensatory, not merely nominal, damages.”). In addition to being forbidden
        as a matter of law, an instruction on nominal damages carries acute prejudice given the
        Court’s decision to prevent Plaintiff from proposing a damages figure or range.

        The Court’s instruction on apportionment (p.47) does not instruct the jury that
        apportionment is an affirmative defense, which the County bears the burden to prove, and
 Case 1:22-cv-00520-MAV-JJM                  Document 383-6           Filed 05/20/25         Page 11 of 16


       does not define the elements of any constitutional tort allegedly engaged in by the BPD or
       individual BPD officers. Restivo v. Hessemann, 846 F.3d 547, 586 (2d Cir. 2017) (“the jury is
       to decide the relative faults of the tortfeasors.” (emphasis added)).

Respectfully submitted,

Spencer L. Durland

From: Kirstie A. Means <kmeans@lippes.com>
Sent: Monday, April 7, 2025 6:23 AM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; Spencer Durland
<sdurland@hooverdurland.com>; Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Thomas R.
Southard <tsouthard@lippes.com>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp
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<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: RE: Final Jury Instructions and Special Verdict Form

Good morning, Judge Vacca and Ms. Austin:

In advance of the charge conference, the County respectfully submits a redlined draft of the Court’s Final
Jury Charges, incorporating the County’s primary objections, in an effort to facilitate and streamline
discussion. Additionally, the County notes the following objections with respect to the Court’s Special Verdict
Sheet.

The County objects to Section I (Liability) on the grounds it: (i) fails to include a question relative to the
issue of favorability and (ii) conflates the analysis required under Monell into a single question (at both
questions 2 and 4). The County maintains, as was set forth in its proposed Verdict Sheet, that distinct
questions should be raised on each point, particularly since the Court’s Proposed Final Jury Charges instruct
the jury as to the issue of favorability and because the jury could find the existence of a custom, policy or
practice, but not find that it was the moving force behind the constitutional violations alleged in this case.

As to Section II (Damages), the County objects and requests to add “if any” or something similar so as to
not instruct the jury that it must award compensatory damages. The County further seeks to add an
additional line relative to a potential award of nominal damages, consistent with the jury instructions and to
avoid confusion on this issue. The County proposes revising this section as follows:

       5. If you answered YES to either or both of Questions 2 and 4, please identify on the line below the
           total amount of compensatory damages that you find Mr. Walker is entitled to for the period
           beginning on June 13, 1977 (the date of Mr. Walker’s conviction) until the present (if you decide
           not to make an award as to this item, insert the word “None”):

            $ ________________________

            If you awarded no damages in Question 5, proceed to Question 6. If you awarded damages in
            Question 5, skip Question 6.
     Case 1:22-cv-00520-MAV-JJM             Document 383-6          Filed 05/20/25       Page 12 of 16



        6. State the amount you award Mr. Walker in nominal damages:

              $ ________________________

As to the damages questions pertaining to the Buffalo Police Department, the County objects and requests
to: (i) add the names of the relevant employees of the Buffalo Police Department, (ii) reference both
compensatory and nominal damages and (iii) revise “also contributed” to “caused or contributed to” as
follows:

          Do you find that the Defendant, the County of Erie, has demonstrated by a preponderance of the
          evidence that the Buffalo Police Department, including its employees, Michael E. Guadagno, John
          Montondo, James E. Hunter, Robert Grabowski, Robert F. Arnet, Frank C. Deubell, Leo J. Donovan,
          Francis M. Manista, Jr., Paul R. Delano (collectively, the Buffalo Police Department), caused or
          contributed to Mr. Walker’s damages?

Respectfully submitted,
Kirstie Means



Kirstie A. Means      ​




Partner
 P




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

ph: 716.853.5100 ext. 1305
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 Case 1:22-cv-00520-MAV-JJM                Document 383-6          Filed 05/20/25        Page 13 of 16




Good evening, Counsel,

Attached are the Final Jury Instructions and Special Verdict Sheet that will be the subject of
the charge conference tomorrow at 8:30am.

Nicole W. Austin
Law Clerk to Judge Meredith A. Vacca
Western District of New York
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<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: RE: DX 707 and DX 697

CAUTION - EXTERNAL:




Dear Judge Vacca:

Attached please find a copy of the County’s response and objections to Plaintiff’s Supplemental Requests to
Charge, filed moments ago at Docket 357.

Respectfully submitted,
Kirstie Means


Kirstie A. Means   ​




Partner
     Case 1:22-cv-00520-MAV-JJM            Document 383-6           Filed 05/20/25       Page 14 of 16

 P




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Buffalo, NY 14202‑2216

ph: 716.853.5100 ext. 1305
kmeans@lippes.com | lippes.com
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Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne
<Ryanne.Perio@wilmerhale.com>; jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian
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Persico <jpersico@lippes.com>
Subject: RE: DX 707 and DX 697



Dear Judge Vacca,

We have received your message and will confer with opposing counsel about a list of admitted
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just now.

Respectfully submitted,

Spencer L. Durland

From: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>
Sent: Sunday, April 6, 2025 9:00 AM
To: Thomas R. Southard <tsouthard@lippes.com>; Nicole Austin <Nicole_Austin@nywd.uscourts.gov>;
John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
 Case 1:22-cv-00520-MAV-JJM            Document 383-6        Filed 05/20/25      Page 15 of 16


jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: Re: DX 707 and DX 697


Counsel:

I will get you the proposed verdict sheet and final instructions later today. A few things I
wanted to bring up now.

If counsel can please come up with a mutually agreeable list of exhibits that can be sent
back to the jury during deliberations when requested in a note. Please bring to court
tomorrow morning. If such an exhibit is requested by the jury, we would send it back
without reconvening and put it on the record the next time we meet in court.

I will not be allowing Plaintiff to recommend a certain dollar figure or range in their
summation. We will put this on the record tomorrow morning.

Also, heads up for tomorrow morning. We have Grand Jury empanelment which means that
there will be a lot of people going through the magnetometers starting at 8 am. I am told it
will probably take an hour for everyone to go through.

Thank you!



Get Outlook for iOS

From: Thomas R. Southard <tsouthard@lippes.com>
Sent: Friday, April 4, 2025 9:51:48 AM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>;
Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com <jbrudin@rudinlaw.com>; James P. Blenk <jblenk@lippes.com>; Brian C.
Mahoney <bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com
<buffalo_5_plaintiff_counsel@list.wilmerhale.com>; Jennifer C. Persico <jpersico@lippes.com>
Subject: DX 707 and DX 697

CAUTION - EXTERNAL:
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Dear Judge Vacca,

Please see the below link to a share drive that contains DX 707 (Guadagno Deposition Transcript)
and DX 697 (Cosgrove Deposition Transcript) highlighted for the County’s deposition
designations and Plaintiff’s counter designations that were received in evidence on April 3.

https://ws.onehub.com/folders/ksxqcob9

Password: KYj87%Bh#43

Thank you,

Tom Southard
Thomas R. Southard   ​




Associate
 P




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